Case 5:19-cv-00850 Document1 Filed 07/02/19 Page 1of5 PagelID#: 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION

THE UNITED STATES OF AMERICA, * CASE NO.
For the Use and Benefit of
MONDELLO SCAFFOLDING &
SHORING, INC.
Plaintiff,

versus * JUDGE:

 

ENGINEERING DESIGN
TECHNOLOGIES, INC. and
LIBERTY MUTUAL
INSURANCE COMPANY
Defendants * MAGISTRATE:
COMPLAINT

NOW INTO COURT, through undersigned counsel, comes the plaintiff, THE UNITED
STATES OF AMERICA, For the Use and Benefit of MONDELLO SCAFFOLDING &
SHORING, INC., which asserts this action under the authority and provisions of The Miller
Act, 40 U.8.C.A. Sections 3131 ef.seg, and in support of this cause of action alleges the
following:

1,
The Plaintiff in interest in this action is MONDELLO SCAFFOLDING & SHORIN G,

INC., a Louisiana corporation doing business and having its principal business and registered
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office in Louisiana at 605 Sligo Road, Bossier City, Louisiana 71112 (hereinafter the “Plaintiff”
or “Mondello”).
2.

Made defendants herein are the following:

1. ENGINEERING DESIGN TECHNOLOGIES, INC., a foreign corporation which
maintains its principal business office at 1705 Enterprise Way, Suite 200, Marietta, Georgia
30067 (hereinafter “EDT”); and

2. LIBERTY MUTUAL INSURANCE COMPANY, a foreign insurance corporation
authorized to do and doing business in Louisiana, which has its domiciliary address at 175
Berkeley Street, Boston, Massachusetts 02116 (hereinafter “Liberty Mutual”; EDT and Liberty

Mutual are sometimes jointly referred to herein as “Defendants”).

3.
This action arises under 40 U.S. C. A. Sections 3131, ef seq, also known as The Miller

Act, which provides this court with exclusive jurisdiction over the causes of action asserted
against the Defendants named above. In further establishment of this court’s jurisdiction, under
the above federal statute, Plaintiff shows that this cause of action is based upon a claim against a
general contractor and surety that Plaintiff has not been paid for labor, material, or equipment
supplied the prosecution of work provided under subcontracts of a prime contract on a federal
project on which labor was last performed and materials and equipment were last supplied by
Plaintiff on or about October 1, 2018.
4,
Venue is proper before this court inasmuch as Plaintiff's work under the subcontracts on

the federal project was performed and was to be performed within the Western District tof
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Louisiana.

5.

At all times pertinent to this action, EDT contracted with the United Stated of
America, Department of the Navy, Naval Facilities Engineering Command Southeast, located at
IPT South Central Building 135, Jacksonville, Florida 32212-0030 (hereinafter the “Dept. OF
Navy” or “Owner”), for the purpose of EDT’s providing construction work for a federal project
known as Repair Airfield Drainage System, Barksdale Air Force Base, Bossier City, Louisiana,
Contract Project Number N69450-13-D-1764-0002 (hereinafter the “Prime Contract”) located at
1049 Davis Avenue E, Barksdale AFB, Louisiana 71119 (hereinafter the “Project”).

6.

Mondello entered into a Purchase Order dated February 28, 2018 with EDT to perform
portions of the EDT scope of the work of the Project consisting of providing 109 construction
mats (8'x16'x6") at 13 mats per truckload, which included the furnishing of labor, materials, and
equipment as stated and freight charges to job site and return.

7.

Upon information and belief, Liberty Mutual issued a payment and performance bond for

EDT as its principal in favor of the Owner as obligee on the Project and is, therefore, liable as

surety for unpaid amounts owed by EDT to Mondello under the Purchase Order.
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8.

Mondello provided the construction mats and other materials ordered by EDT as shown
by the copy of the EDT purchase order attached to this complaint as Exhibit “A.” Said materials
are, upon information and belief, still on the construction site and may be still in use by EDT.

9,

The amount due and owing by EDT under the purchase order, for labor, services, and/or

materials and equipment, through October 1, 2018, is $1 8,166.38.
10.

Upon information and belief, EDT has been paid by the Owner for all of the Work of the
Project that was performed by Mondello.
11,
Despite the submission of invoices and the provision of written notice of Mondello’s
claim, and amicable demand for payment, EDT and Liberty Mutual have failed and refused to

pay Plaintiff the balance due and owing.

12.
Plaintiff is entitled to a judgment over and against Defendants, in solido, in the total
principal amount of $18,166.38 for the unpaid principal balance, together with 1.5% contractual
interest from the date(s) payments were due until paid, judicial interest as provided under federal

law, court costs, including the costs expert witnesses, lien notice costs of $1,000.00, and
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reasonable attorney fees as provided under applicable law.

WHEREFORE, PLAINTIFF, THE UNITED STATES OF AMERICA, For the Use
and Benefit of MONDELLO SCAFFOLDING & SHORING CO.,INC., PRAYS that
this Complaint be filed of record and that after all legal proceedings have been had, there be
judgment in favor of the Plaintiff, THE UNITED STATES OF AMERICA, For the Use and
Benefit of MONDELLO SCAFFOLDING & SHORING CO., INC. and against Defendants,
ENGINEERING DESIGN TECHNOLOGIES, INC. and LIBERTY MUTUAL
INSURANCE COMPANY, in solido, in the principal amount of $18,166.38 plus interest on the
principal amount at contractual or legal rates until paid, Plaintiff's reasonable attomey fees, and

all court costs, including the costs of expert witnesses.

Respectfully submitted,

Barham & Warner, L.L.C.

S/: Vicki C. Warner

Vicki C. Warner, La. Bar # 17193
Elizabeth P. Grozinger, La. Bar #35160
920 Pierremont Road, Suite 412
Shreveport, LA 71106

Ph. (318) 865-0081

Fx: (318) 865-2009

warner(@barhamandwarner.com
grozinger(@barhamandwarner.com

ATTORNEYS FOR PLAINTIFF, MONDELLO
SCAFFOLDING & SHORING CO., INC.
JS 44 (Rev. 02/19)

The JS 44 civil cover sheet and the information contained hercin neither repli
purpose of initiating the civil docket shect,
L (a) PLAINTIFFS

THE UNITED STATES OF AMERICA for the use and benefit of
MONDELLO SCAFFOLDING & SHORING, INC.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Atiomeys (Firm Name, Address, and Telephone Number)

Barham & Warner, LLC, 920 Pierremont, Suite 412, Shrev
77106; Ph. 318-865-0081

ace nor supplement the filing and service of p
provided by local rules of court. This for, approved by the Judicial Conference of the United States in September 1974
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORMS

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Case 5:19-cv-00850 Dd«CiWEhiCOVHRSHPETS Page 1of1PagelD#: 6

lcadings or other papers as required by law, except as
, 15 required for the use of the Clerk of Court for the

DEFENDANTS

ENGINEERING DESIGN TECHNOLOGIES, INC., and LIBERTY
MUTUAL INSURANCE COMPANY

(IN U.S. PLAINTIFF CASES ONLY)

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II. BASIS OF JURISDICFION (Place an “X"" in Gne Bax Only) IH. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
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Cite the U.S. Civil Statut
40 USCA 3131 et. seq.

Brief description of cause:

VI. CAUSE OF ACTION

 

VU. REQUESTED IN [7 CHECK IF THIS IS A CLASS ACTION

€ under which you are ff

ling (Do not cite jurisdictional statutes untess diversity):

Claim by supplier of iabor/materials to enforce Miller Act lien against contractor and bond company

€ CHECK YES only if demanded in complaint:

DEMAND § [S Ibe 3

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND; O Yes No
VIH. RELATED CASE(S) ; ;
IF ANY (See instructions); jupcE Foote DOCKET NUMBER 9:18-cv-00914

 

 

 

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SIGNATURE OF ATTORNEY OF RECORD

 

 

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FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
